         Case 18-13733-mdc       Doc 16Filed 11/30/18 Entered 11/30/18 17:33:21                 Desc Main
                                       Document Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

In re:
         BASILISA CRUZ-VELEZ                                 Chapter 13


                              Debtor                 Bankruptcy No. 18-13733-MDC


                   CHAPTER 13 STANDING TRUSTEE’S MOTION FOR DISMISSAL

       AND NOW comes, William C. Miller, Esquire, Chapter 13 standing trustee, and requests that the above-
captioned bankruptcy case be dismissed for the following reason(s):

There has been unreasonable delay by debtor(s) that is prejudicial to creditors pursuant to 11 U.S.C. Section
1307(c)(1).
There has been unreasonable delay by debtor(s) that is prejudicial to creditors pursuant to 11 U.S.C. Section
1307(c)(1) by failing to propose an adequately funded plan, in that the total filed proofs of claim which are to be
paid through the plan exceed the value of the plan.

        The hearing scheduled by the filing of this motion may be adjourned from time to time without further
notice to interested parties by announcement of such adjournment in Court on the date scheduled for the hearing.

       The standing trustee consents to the entry of a final order or judgment by the Court if it is determined that
the Court, absent consent of the parties, cannot enter a final order or judgment consistent with Article III of the
United States Constitution.


        WHEREFORE, William C. Miller, Esquire, Chapter 13 standing trustee, respectfully requests that
Court, after a hearing, enter an Order in the form annexed hereto, dismissing this bankruptcy case.


                                                             Respectfully submitted,

                                                             /s/ William C. Miller
                                                             ______________________
                                                             William C. Miller, Esquire
                                                             Chapter 13 Standing Trustee
                                                             P.O. Box 1229
                                                             Philadelphia, PA 19105
                                                             Telephone: (215)627-1377
